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                                          9
                                                                      UNITED STATES DISTRICT COURT
                                         10
                                                                    NORTHERN DISTRICT OF CALIFORNIA
                                         11
                                         12      JITENDRA KUMAR,                                       Case No: 4:14-CV-04144-KAW

                                         13
HYDE & SWIGART




                                                                         PLAINTIFF,                    NOTICE OF VOLUNTARY
                 San Diego, California




                                         14      V.                                                    DISMISSAL OF ACTION WITH
                                                                                                       PREJUDICE
                                         15      GENERAL REVENUE
                                                 CORPORATION,                                          HON. KANDIS A. WESTMORE
                                         16
                                         17                              DEFENDANT.
                                         18
                                         19
                                                      Plaintiff JITENDRA KUMAR hereby moves this Court to dismiss the above
                                         20
                                              entitled action with prejudice.
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                                                      WHEREFORE, Plaintiff respectfully requests that this court dismiss this
                                         22
                                              action with prejudice.
                                         23
                                         24
                                         25   Dated: December , 2014                                   HYDE & SWIGART
                                         26
                                                                                                By: s/Crosby S. Connolly
                                         27                                                         Crosby S. Connolly
                                                                                                   Attorney for Plaintiff
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                                               ______________________________________________________________________________________________________
                                                NOTICE OF VOLUNTARY DISMISSAL                 - 1 of 1 -                       4:14-cv-04144-KAW
